                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI
                                     ST. JOSEPH DIVISION

 VetBridge Product Development Subsidiary I         )
 (NM-OMP), LLC,                                     )
                                                    )
                   Plaintiff,                       )         Case No. 5:18-cv-06147-BCW
                                                    )
 vs.                                                )
                                                    )
 NewMarket Pharmaceuticals, LLC,                    )
                                                    )
                   Defendant.                       )

                                        MOTION TO SEAL

         Defendant NewMarket Pharmaceuticals, LLC ("NewMarket"), by and through its

undersigned counsel and pursuant to Federal Rule of Civil Procedure 26(c)(1), hereby respectfully

requests the Court issue its Order (1) directing the Clerk of the Court to remove Exhibit 1 of

Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC’s (“VetBridge”)

suggestions in support of its Motion for Hearing (Doc. 13-1); (2) directing the Clerk of the Court

to re-file Exhibit 1 under seal; and (3) directing VetBridge to reimburse NewMarket its costs

associated with bringing this motion. In support of this motion, NewMarket states as follows:

         1.       On October 19, 2018, VetBridge filed a Motion for Hearing. (Doc. 12.)

         2.       VetBridge also filed its suggestions in support of its Motion for Hearing. (Doc.

13.)

         3.       Filed with VetBridge’s suggestions in support was Exhibit 1, an Exclusive

Distribution and License Agreement (the “Agreement”). (Doc. 13-1.)

         4.       The Agreement contains proprietary and confidential business information, the

public disclosure of which will harm NewMarket.




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         5.       As more fully discussed in NewMarket’s suggestions in support of this motion, to

be filed concurrently herewith, removal of the Agreement from the Court’s public docket and its

subsequent filing under seal is both permitted and warranted pursuant to Federal Rule of Civil

Procedure 26(c)(1).

         6.       Counsel for VetBridge was consulted regarding the Agreement being filed on the

public docket, but VetBridge has maintained the position that NewMarket’s proprietary and

confidential business information should be open to public disclosure.

         7.       Based upon VetBridge’s unilateral decision to file the Agreement on the Court’s

public docket and refusal to at least have the document filed under seal until such time as the Court

could take the matter up for its consideration—which would be the standard procedure under any

joint protective order—NewMarket also requests that its costs related to bringing this motion be

reimbursed by VetBridge.

         WHEREFORE, for the reasons stated above and as discussed within NewMarket’s

concurrently filed suggestions in support of this motion, NewMarket respectfully requests the

Court grant this motion and issue an Order (1) directing the Clerk of the Court to remove Exhibit

1 of Plaintiff’s suggestions in support of its Motion for Hearing (Doc. 13-1); (2) directing the

Clerk of the Court to re-file Exhibit 1 under seal; and (3) directing VetBridge to reimburse

NewMarket its costs associated with bringing this motion.




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                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 1st day of November, 2018, the above pleading was filed with

the Court via the CM/ECF system, and served on the following via electronic mail:

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